                                                                                                                                                                                                                SSave
                                                                                                                                                                                                                  a v e As...
                                                                                                                                                                                                                        As...                              Pri nt
                                                                                                                                                                                                                                                           Print                                 R es et
                                                                                                                                                                                                                                                                                                 Reset
                                                     CI VI
                        Case 0:22-cv-60710-MGC Document 1-1L CEntered
                                                               O V E R S on
J S 4 4 ( R e v. 1 0/ 2 0 ) F L S D R e vis e d 0 2 / 1 2/ 2 0 21         H EFLSD
                                                                              E T Docket 04/11/2022 Page 1 of 2
T h e J S 4 4 ci vil c o v er s h e et a n d t h e i nf or m ati o n c o nt ai n e d h er ei n n eit h er r e pl a c e n or s u p pl e m e nt t h e fili n g a n d s er vi c e of pl e a di n gs or ot h er p a p ers as r e q uir e d b y l a w, e x c e pt as pr o vi d e d
b y l o c al r ul es of c o urt. T his f or m, a p pr o v e d b y t h e J u di ci al C o nf er e n c e of t h e U nit e d St at es i n S e pt e m b er 1 9 7 4, is r e q uir e d f or t h e us e of t h e Cl er k of C o urt f or t h e p ur p os e of i niti ati n g
t h e ci vil d o c k et s h e et. ( S E E I N S T R U C TI O N S O N N E X T P A G E O F T HI S F O R M.) N O TI C E: Att o r n e ys M U S T I n di c at e All R e -fil e d C as es B el o w.
I. ( a)              P L AI N TI F F S                                                                                                                            D EF E N D A N TS
                                                       C hrist o p h er Guarnizo
                                                       Christopher      G u ar ni z o                                                                                                                   CChrysalis
                                                                                                                                                                                                          hr ys alis Health
                                                                                                                                                                                                                     H e alt h CCenter
                                                                                                                                                                                                                                 e nt er I Inc
                                                                                                                                                                                                                                           nc

         ( b)      C o u nt y of R esi d e n c e of First List e d Pl ai ntiff                                                                                    C o u nt y of R esi d e n c e of First List e d D ef e n d a nt
                                                       ( E X C E P T I N U. S. P L AI N TI F F C A S E S)                                                                                                        (I N U. S. P L AI N TI F F C A S E S O N L Y)
                                                                                                                                                                  N O T E:                              I N L A N D C O N D E M N A TI O N C A S E S, U S E T H E L O C A TI O N O F
                                                                                                                                                                                                        T H E T R A C T O F L A N D I N V O L V E D.
         ( c)     Att or n e ys ( Fir m N a m e, A d dr ess, a n d T el e p h o n e N u m b er)                                                                    Att or n e ys (If K n o w n)
                                           Bri a n H. P oll o c k, Es q. / F air L a w Fir m
                            1 3 5 S a n L or e n z o A v e., St e 7 7 0, C or al G a bl es, F L 3 3 1 4 6
                                                            3 0 5. 2 3 0. 4 8 8 4
( d) C h e c k         C o u nt y W h er e A cti o n Ar os e:                     MI A MI - D A D E        M O NR OE           BR O W AR D         P AL M BE AC H          M A R TI N       S T. L U CI E          I N DI A N RI V E R        O KEEC H OBEE              HI G H L A N D S


II. B A SI S O F J U RI S DI C TI O N                                          ( Pl a c e a n “ X ” i n O n e B o x O nl y)                  III. CI TI Z E N S HI P O F P RI N CI P A L P A R TI E S                                                      ( Pl a c e a n “ X ” i n O n e B o x f or Pl ai ntiff)
                                                                                                                                                             ( F or Di v ersit y C as es O nl y)                                                                  a n d O n e B o x f or D ef e n d a nt)
 ■         1    U. S. G o v er n m e nt                         ■ 3
                                                                n                              F e d er al Q u esti o n                                                                        PTF                  DEF                                                                   PTF         DEF
                     Pl ai ntiff                                           ( U. S. G o v er n m e nt N ot a P art y)                                Citi z e n of T his St at e                   1                       1       I n c or p or at e d or Pri n ci p al Pl a c e                 4          4
                                                                                                                                                                                                                                  of B usi n ess I n T his St at e

 ■         2    U. S. G o v er n m e nt                         ■ 4                              Di v ersit y                                       Citi z e n of A n ot h er St at e                   2                 2       I n c or p or at e d a n d Pri n ci p al Pl a c e                 5            5
                     D ef e n d a nt                                       (I n di c at e Citiz e ns hi p of P arti es i n It e m III)                                                                                                 of B usi n ess I n A n ot h er St at e

                                                                                                                                                    Citi z e n or S u bj e ct of a                      3                 3       F or ei g n N ati o n                                             6            6
                                                                                                                                                        F or ei g n C o u ntr y
I V. N A T U R E O F S UI T                                  ( Pl a c e a n “ X ” i n O n e B o x O nl y)                                        Cli c k h er e f or: N at ur e of S uit C o d e D es cri pti o ns
                     C O NT R A CT                                                               T O R TS                                                F O R F EI T U R E/ P E N A L T Y                       B A N K R UPT C Y                                         O T H E R S T A T U T ES
 ■       1 1 0 I ns ur a n c e                                  P E R S O N A L I NJ U R Y                   P E R S O N A L I NJ U R Y                 6 2 5 Dr u g R el at e d S ei z ur e                     4 2 2 A p p e al 2 8 U S C 1 5 8                      3 7 5 F als e Cl ai ms A ct
         1 2 0 M ari n e                                        3 1 0 Air pl a n e                            3 6 5 P ers o n al I nj ur y -                  of Pr o p ert y 2 1 U S C 8 8 1                    4 2 3 Wit h dr a w al                                 3 7 6 Q ui T a m ( 3 1 U S C
         1 3 0 Mill er A ct                                     3 1 5 Air pl a n e Pr o d u ct                       Pr o d u ct Li a bilit y           6 9 0 Ot h er                                                  28 U S C 157                                       3 7 2 9 ( a))
         1 4 0 N e g oti a bl e I nstr u m e nt                       Li a bilit y                            3 6 7 H e alt h C ar e/                                                                                                                                  4 0 0 St at e R e a p p orti o n m e nt
         1 5 0 R e c o v er y of O v er p a y m e nt            3 2 0 Ass a ult, Li b el &                          P h ar m a c e uti c al                                                                        P R O P E R T Y RI G H T S                          4 1 0 A ntitr ust
               & E nf or c e m e nt of J u d g m e nt                 Sl a n d er                                   P ers o n al I nj ur y                                                                  ■    8 2 0 C o p yri g hts                                 4 3 0 B a n ks a n d B a n ki n g
 ■       1 5 1 M e di c ar e A ct                               3 3 0 F e d er al E m pl o y ers’                   Pr o d u ct Li a bilit y                                                                     8 3 0 P at e nt                                       4 5 0 C o m m er c e
         1 5 2 R e c o v er y of D ef a ult e d                       Li a bilit y                            3 6 8 As b est os P ers o n al                                                                ■
                                                                                                                                                                                                                 8 3 5 P at e nt – A b br e vi at e d                  4 6 0 D e p ort ati o n
                                                                                                                                                                                                                     N e w Dr u g A p pli c ati o n
                                                                                                                     I nj ur y Pr o d u ct Li a bilit y                                                     ✔    8 4 0 Tr a d e m ar k                                 4 7 0 R a c k et e er I nfl u e n c e d a n d
               St u d e nt L o a ns                             3 4 0 M ari n e                                                                                                                             ■
                                                                                                                                                                                                                 8 8 0 D ef e n d Tr a d e S e cr ets                  C orr u pt Or g a ni z ati o ns
                                                                                                                                                                                                                    A ct of 2 0 1 6
               ( E x cl. V et er a ns)                          3 4 5 M ari n e Pr o d u ct                                                                            L AB O R                                     S O CI A L S E C U RI T Y                          4 8 0 C o ns u m er Cr e dit
                                                                                                                                                                                                                                                                           ( 1 5 U S C 1 6 8 1 or 1 6 9 2)
         1 5 3 R e c o v er y of O v er p a y m e nt                     Li a bilit y                 P E RS O N A L P R OP E R T Y                     7 1 0 F air L a b or St a n d ar ds                 ■    861    HI A ( 1 3 9 5ff)                         ■    4 8 5 T el e p h o n e C o ns u m er
                                                                                                                                                                                                                                                                       Pr ot e cti o n A ct ( T C P A)
               of V et er a n’s B e n efits                   ■ 3 5 0 M ot or V e hi cl e              ■   3 7 0 Ot h er Fr a u d                              A ct                                              862   Bl a c k L u n g ( 9 2 3)                       4 9 0 C a bl e/ S at T V
         1 6 0 St o c k h ol d ers’ S uits                       3 5 5 M ot or V e hi cl e             ■   3 7 1 Tr ut h i n L e n di n g            ■ 7 2 0 L a b or/ M g mt. R el ati o ns                ■    863    DI W C/ DI W W ( 4 0 5( g))               ■    8 5 0 S e c uriti es/ C o m m o diti es/
 ■       1 9 0 Ot h er C o ntr a ct                                     Pr o d u ct Li a bilit y           3 8 0 Ot h er P ers o n al                ■  7 4 0 R ail w a y L a b or A ct                          864   S SI D Titl e X VI                              E xc ha n ge
         1 9 5 C o ntr a ct Pr o d u ct Li a bilit y             3 6 0 Ot h er P ers o n al                       Pr o p ert y D a m a g e              7 5 1 F a mil y a n d M e di c al                   ■    865   R SI ( 4 0 5( g))                          ■    8 9 0 Ot h er St at ut or y A cti o ns
         1 9 6 Fr a n c his e                                           I nj ur y                          3 8 5 Pr o p ert y D a m a g e                      L e a v e A ct                                                                                          8 9 1 A gri c ult ur al A cts
                                                                 3 6 2 P ers o n al I nj ur y -                   Pr o d u ct Li a bilit y              7 9 0 Ot h er L a b or Liti g ati o n                                                                          8 9 3 E n vir o n m e nt al M att ers
                                                                        M e d. M al pr a cti c e                                                        7 9 1 E m pl. R et. I n c.                                                                                     8 9 5 Fr e e d o m of I nf or m ati o n
                RE AL P R OPE RT Y                                     CI VI L RI G H T S               P RI S O N E R P E TI TI O N S                        S e c urit y A ct                                   F E D E R A L T A X S UI T S                         A ct
           2 1 0 L a n d C o n d e m n ati o n                   4 4 0 Ot h er Ci vil Ri g hts             H a b e as C o r p us:                                                                                8 7 0 T a x es ( U. S. Pl ai ntiff                    8 9 6 Ar bitr ati o n
     ■     2 2 0 F or e cl os ur e                               4 4 1 V oti n g                           4 6 3 Ali e n D et ai n e e                                                                                  or D ef e n d a nt)                       ■    8 9 9 A d mi nistr ati v e Pr o c e d ur e
    ■      2 3 0 R e nt L e as e & Ej e ct m e nt                4 4 2 E m pl o y m e nt                   5 1 0 M oti o ns t o V a c at e                                                                       8 7 1 I R S — T hir d P art y 2 6 U S C                 A ct/ R e vi e w or A p p e al of
                                                                                                           S e nt e n c e                                                                                        7609                                                  A g e n c y D e cisi o n
           2 4 0 T orts t o L a n d                              4 4 3 H o usi n g/                              Ot h e r:
                                                                                                                                                                                                                                                                  ■
                                                                                                                                                                                                                                                                       9 5 0 C o nstit uti o n alit y of St at e
                                                                 A c c o m m o d ati o ns                                                                                                                                                                              St at ut es
           2 4 5 T ort Pr o d u ct Li a bilit y                  4 4 5 A m er. w/ Dis a biliti es -        5 3 0 G e n er al                                   I M MI G R A TI O N
     ■     2 9 0 All Ot h er R e al Pr o p ert y                        E m pl o y m e nt                  5 3 5 D e at h P e n alt y                   4 6 2 N at ur ali z ati o n A p pli c ati o n
                                                                 4 4 6 A m er. w/ Dis a biliti es -        5 4 0 M a n d a m us & Ot h er               4 6 5 Ot h er I m mi gr ati o n
                                                                        Ot h er                            5 5 0 Ci vil Ri g hts                              A cti o ns
                                                                 4 4 8 E d u c ati o n                     5 5 5 Pris o n C o n diti o n
                                                                                                           5 6 0 Ci vil D et ai n e e –
                                                                                                           C o n diti o ns of
                                                                                                           C o nfi n e m e nt
V.          O RI GI N                          ( Pl a c e a n  “ X  ” i n   O n e   B o x O nl y)
■          1 Ori gi n al             ■ 2 Re m o ve d                  ■ 3 R e -fil e d            4 R ei nst at e d            5 Tr a nsf err e d fr o m                ■     6 M ulti distri ct                   7 A p p e al t o                       8 M ulti distri ct
                Pr o c e e di n g                fr o m St at e                 ( S e e VI          or                                a n ot h er distri ct                   Liti g ati o n                                                                                           9    R e m a n d e d fr o m
                                                 C o urt                        b el o w)           Re o pe ne d                      (s  p e cif y)                          Tr a nsf er                            Distri ct J u d g e                    Liti g ati o n                  A p p ell at e C o urt
                                                                                                                                                                                                                     fr o m M a gistr at e                  – Dir e ct
                                                                                                                                                                                                                     J u d g m e nt                         Fil e
VI. R E L A T E D/                                                 ( S e e i nstr u cti o ns): a) R e -fil e d C as e                    YES            N O                  b) R el at e d C as es                    YES               N O
R E -FI L E D C A S E( S)                                                                  J U D G E:                                                                                                                  D O C K E T N U M B E R:
                                                                   Cit e t h e U. S. Ci vil St at ut e u n d er w hi c h y o u ar e fili n g a n d Writ e a Bri ef St at e m e nt of C a us e ( D o n ot cit e j uris di cti o n al st at ut es u nl ess di v ersit y):
VII. C A U S E O F A C TI O N                                      2 9 U. S. C. § 1 9 8 1, 4 2 U. S. C. § 2 0 0 0 e - R a c e Dis cri mi n ati o n i n E m pl o y m e nt
                                                                                               3- 4 d a ys esti m at e d (f or b ot h si d es t o tr y e ntir e c as e)
                                                                   L E N G T H O F T RI A L vi a
                                                                                               3-4
VIII. R E Q U E S T E D I N                                               C H E C K I F T HI S I S A C L A S S A C TI O N
                                                                                                                                                         DE M A N D $                                                         C H E C K Y E S o nl y if d e m a n d e d i n c o m pl ai nt:
     C O M P L AI N T:                                                    U N D E R F. R. C. P. 2 3
                                                                                                                                                                                                                       J U R Y D E M A N D:                                Y es                No
A B O V E I N F O R M A TI O N I S T R U E & C O R R E C T T O T H E B E S T O F M Y K N O W L E D G E
D ATE                                                                                                                SI G N A T U R E O F A T T O R N E Y O F R E C O R D
                  4/ 1 1/ 2 0 2 2                                                                                                                                                                  s/ T o uss ai nt C u m mi n gs, Es q.
F O R O F FI C E U S E O N L Y : R E C EI P T #                                                A M O U NT                                   IFP                           J U D GE                                                 M A GJ U D GE
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                               I N S T R U C TI O N S F O R A T T O R N E Y S C O M P L E TI N G CI VI L C O V E R S H E E T F O R M J S 4 4

                                                                                           A ut h orit y F or Ci vil C o v er S h e et
    T h e J S 4 4 ci vil c o v er s h e et a n d t h e i nf or m ati o n c o nt ai n e d h er ei n n eit h er r e pl a c es n or s u p pl e m e nts t h e fili n gs a n d s er vi c e of pl e a di n g or ot h er p a p ers as r e q uir e d
b y l a w, e x c e pt as pr o vi d e d b y l o c al r ul es of c o urt. T his f or m, a p pr o v e d b y t h e J u di ci al C o nf er e n c e of t h e U nit e d St at es i n S e pte m b er 1 9 7 4, is r e q uir e d f or t h e
us e of t h e Cl er k of C o urt f or t h e p ur p os e of i niti ati n g t h e ci vil d o c k et s h e et. C o ns e q u e ntl y, a ci vil c o v er s h e et is s u b mitt e d t o t h e Cl er k of C o urt f or e a c h ci vil
c o m pl ai nt fil e d. T h e att or n e y fili n g a c as e s h o ul d c o m pl et e t h e f or m as f oll o ws:
I.          ( a) Pl ai ntiffs-D ef e n d a nts. E nt er n a m es (l ast, first, mi d dl e i niti al) of pl ai ntiff a n d d ef e n d a nt. If t h e pl ai ntiff or d ef e n d a nt is a g o v er n m e nt a g e n c y, us e
o nl y t h e f ull n a m e or st a n d ar d a b br e vi ati o ns. If t h e pl ai ntiff or d ef e n d a nt is a n offi ci al wit hi n a g o v er n m e nt a g e n c y, i d e ntif y first t h e a g e n c y a n d t h e n t h e offi ci al,
gi vi n g b ot h n a m e a n d titl e.
            ( b) C o u nt y of R esi d e n c e. F or e a c h ci vil c as e fil e d, e x c e pt U. S. pl ai ntiff c as es, e nt er t h e n a m e of t h e c o u nt y w h er e t h e first list e d pl ai ntiff r esi d es at t h e
ti m e of fili n g. I n U. S. pl ai ntiff c as es, e nt er t h e n a m e of t h e c o u nt y i n w hi c h t h e first list e d d ef e n d a nt r esi d es at t h e ti m e of fili n g. ( N O T E: I n l a n d c o n d e m n ati o n
c as es, t h e c o u nt y of r esi d e n c e of t h e “ d ef e n d a nt ” is t h e l o c ati o n of t h e tr a ct of l a n d i n v ol v e d.)
           ( c) Att or n eys. E nt er t h e fir m n a m e, a d dr ess, t el e p h o n e n u m b er, a n d att or n e y of r e c or d. If t h er e ar e s e v er al att or n e ys, list t h e m o n a n att a c h m e nt, n oti n g
i n t his s e cti o n “(s e e att a c h m e nt) ”.
 II.        J u ris di cti o n . T h e b asis of j uris di cti o n is s et f ort h u n d er R ul e 8( a), F. R. C. P., w hi c h r e q uir es t h at j uris di cti o ns b e s h o w n i n pl e a di n gs. Pl a c e a n “ X ” i n
o n e of t h e b o x es. If t h er e is m or e t h a n o n e b asis of j uris di cti o n, pr e c e d e n c e is gi v e n i n t h e or d er s h o w n b el o w.
U nit e d St at es pl ai ntiff. ( 1) J uris di cti o n b as e d o n 2 8 U. S. C. 1 3 4 5 a n d 1 3 4 8. S uits b y a g e n ci es a n d offi c ers of t h e U nit e d St at es ar e i n cl u d e d h er e.
U nit e d St at es d ef e n d a nt. ( 2) W h e n t h e pl ai ntiff is s ui n g t h e U nit e d St at es, its offi c ers or a g e n ci es, pl a c e a n “ X ” i n t his b o x.
F e d er al q u esti o n. ( 3) T his r ef ers t o s uits u n d er 2 8 U. S. C. 1 3 3 1, w h er e j uris di cti o n aris es u n d er t h e C o nstit uti o n of t h e U nit e d St at es, a n a m e n d m e nt t o t h e
C o nstit uti o n, a n a ct of C o n gr ess or a tr e at y of t h e U nit e d St at es. I n c as es w h er e t h e U. S. is a p art y, t h e U. S. pl ai ntiff or d ef e n d a nt c o d e t a k es pr e c e d e n c e, a n d
b o x 1 or 2 s h o ul d b e m ar k e d. Di v ersit y of citi z e ns hi p. ( 4) T his r ef ers t o s uits u n d er 2 8 U. S. C. 1 3 3 2, w h er e p arti es ar e citi z e ns of diff er e nt st at es. W h e n B o x 4
is c h e c k e d, t h e citi z e ns hi p of t h e diff er e nt p arti es m ust b e c h e c k e d. ( S e e S e cti o n III b el o w; f e d er al q u esti o n a cti o ns ta k e pr e c e d e n c e o v er di v ersit y c as es.)
III.        R esi d e n c e ( citi z e ns hi p) of P ri n ci p al P a rti es.     T his s e cti o n of t h e J S 4 4 is t o b e c o m pl et e d if di v ersit y of citi z e ns hi p w as i n di c at e d a b o v e.           M ar k t his
s e cti o n f or e a c h pri n ci p al p art y.
I V.       N at u r e of S uit . N a t ur e of S uit. Pl a c e a n " X " i n t h e a p pr o pri at e b o x. If t h er e ar e m ulti pl e n at ur e of s uit c o d es ass o ci at e d wit h t h e c as e, pi c k t h e n at ur e of
s uit c o d e t h at is m ost a p pli c a bl e. Cli c k h er e f or: N at ur e of S uit C o d e D es cri pti o ns .
V.           O ri gi n . Pl a c e a n “ X ” i n o n e of t h e s e v e n b o x es.
Ori gi n al Pr o c e e di n gs. ( 1) C as es w hi c h ori gi n at e i n t h e U nit e d St at es distri ct c o urts.
R e m o v e d fr o m St at e C o urt. ( 2) Pr o c e e di n gs i niti at e d i n st a t e c o urts m a y b e r e m o v e d t o t h e distri ct c o urts u n d er Titl e 2 8 U. S. C., S e cti o n 1 4 4 1.           W h e n t h e p etiti o n
f or r e m o v al is gr a nt e d, c h e c k t his b o x.
R efil e d ( 3) Att a c h c o p y of Or d er f or Dis miss al of Pr e vi o us c as e. Als o c o m pl et e VI.
R ei nst a t e d or R e o p e n e d. ( 4) C h e c k t his b o x f or c as es r ei nst at e d or r e o p e n e d i n t h e distri ct c o urt. Us e t h e r e o p e ni n g d at e as t h e fili n g d at e.
Tr a nsf err e d fr o m A n ot h er Distri ct. ( 5) F or c as es tr a nsf err e d u n d er Titl e 2 8 U. S. C. S e cti o n 1 4 0 4( a). D o n ot us e t his f or wit hi n distri ct tr a nsf ers or m ulti distri ct
liti g ati o n tr a nsf ers.
M ulti distri ct Liti g ati o n. ( 6) C h e c k t his b o x w h e n a m ulti distri ct c as e is tr a nsf err e d i nt o t h e distri ct u n d er a ut h orit y of Titl e 2 8 U. S. C. S e cti o n 1 4 0 7.                  W h e n t his
b o x is c h e c k e d, d o n ot c h e c k ( 5) a b o v e.
A p p e al t o Distri ct J u d g e fr o m M a gistr at e J u d g m e nt. ( 7) C h e c k t his b o x f or a n a p p e al fr o m a m a gistr at e j u d g e’s d e cisi o n.
R e m a n d e d fr o m A p p ell at e C o urt. ( 8) C h e c k t his b o x if r e m a n d e d fr o m A p p ell at e C o urt.
VI.       R el at e d/ R efil e d C as es . T his s e cti o n of t h e J S 4 4 is us e d t o r ef er e n c e r el at e d p e n di n g c as es or r e-fil e d c as es. I ns ert t h e d o c k et n u m b ers a n d t h e
c orr es p o n di n g j u d g es n a m e f or s u c h c as es.

VI I. C a us e of A cti o n . R e p ort t h e ci vil st at ut e dir e ctl y r el at ed t o t h e c a us e of a cti o n a n d gi v e a bri ef d es cri pti o n of t h e c a us e. D o n ot cit e j u ris di cti o n al
st at ut es u nl ess di v e rsit y . E x a m pl e: U. S. Ci vil St at ut e: 4 7 U S C 5 5 3
                                     B ri ef D es cri pti o n: U n a ut h ori z e d r e c e pti o n of c a bl e s er vi c e
VI II.       R e q u est e d i n C o m pl ai nt . Cl ass A cti o n. Pl a c e a n “ X ” i n t his b o x if y o u ar e fili n g a cl ass a cti o n u n d er R ul e 2 3, F. R. C v. P.
D e m a n d. I n t his s p a c e e nt er t h e d oll ar a m o u nt (i n t h o us a n ds of d oll ars) b ei n g d e m a n d e d or i n di c at e ot h er d e m a n d s u c h as a pr eli m i n ar y i nj u n cti o n.
J ur y D e m a n d. C h e c k t h e a p pr o pri at e b o x t o i n di c at e w h et h er or n ot a j ur y is b ei n g d e m a n d e d.


D at e a n d Att o r n e y Si g n at u r e . D at e a n d si g n t h e ci vil c o v er s h e et.
